Case 2:24-cv-00228-Z      Document 77      Filed 03/10/25     Page 1 of 8      PageID 49935



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

CARMEN PURL, M.D., et al.

                     Plaintiff,

       vs.                                     No.: 2:24-cv-228-Z

U.S. DEPARTMENT OF HEALTH &
HUMAN SERVICES, et al.,

                     Defendant.


             UNOPPOSED MOTION FOR LEAVE TO FILE AMICUS BRIEF

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Case 2:24-cv-00228-Z        Document 77        Filed 03/10/25       Page 2 of 8      PageID 49936




       Pursuant to Local Civil Rule 7.2(b), proposed Amici Curiae move for leave to file the

attached amicus brief in support of Defendants. Counsel for the parties represented that

they consent to this motion.


                    STATEMENT OF INTEREST OF AMICI CURIAE 1

       This proceeding involves a dispute over the construction and legitimacy of the Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”) 2000 Privacy Rule and the 2024

Final Rule. As this Statement and the accompanying brief reveal, these rules were properly enacted

by the United States Department of Health and Human Services (“HHS”) after lengthy

consideration and public comment from the medical industry and other stakeholders to facilitate

the transfer of paper to electronic records. The goal was to accomplish a balance between

protecting the private health information (“PHI”) of all patients, while also permitting sharing of

information under select and regulated circumstances in furtherance of public health.

       Amici play a critical role in the United States health care industry and are directly involved

in patient care and treatment as impacted by the HIPAA Privacy Rules. On behalf of their

members, Amici conduct critical research, create community, and provide guidance regarding

clinical care. Amici file this brief because they have a strong and abiding interest in ensuring that

all PHI is both protected and utilized appropriately in furtherance of public health.

       Most critically, if this Court should invalidate the HIPAA Privacy Rule or the 2024 Final

Rule, the health care industry at large would be left to navigate a patchwork of state consumer

privacy laws, many of which refer to, rely on, or contain carve outs for HIPAA-regulated PHI. 2


1
        No counsel for a party authored this brief in whole or in part, and no entity or person,
other than amici curiae, their members, and their counsel, made a monetary contribution intended
to fund the preparation or submission of this brief.
2
        See, e.g., Tex. Bus. & Com. Code Ann. 541.001 et seq.; Maryland Online Data Privacy
Act of 2024 (HB 567).


                                                -2-
Case 2:24-cv-00228-Z         Document 77        Filed 03/10/25    Page 3 of 8      PageID 49937



For multiple reasons outlined in the accompanying brief, the medical community and the American

people need an overarching federal standard. Without the controlled sharing of PHI permitted and

governed by the federal rules at issue, patient care will be adversely impacted, and medical

research and innovation will be stifled.

       Amici submit this brief to explain in further detail how the 2000 and 2024 HIPAA Privacy

Rules arose, how they function in practice, and what would be left if they did not exist. Amici

strongly believe this context is important and should be considered in evaluating the private and

public implications of the relief sought by Plaintiffs.

                                 DESCRIPTION OF AMICI CURIAE

       Amici represent a diverse array of the country’s largest medical associations and health

care providers.

       American College of Obstetricians and Gynecologists (“ACOG”) is the nation’s leading

group of physicians providing health care for women. Representing more than 90% of board-

certified OB/GYNs in the United States, ACOG is the nation’s premier professional membership

organization for obstetrician-gynecologists dedicated to access evidence-based, high-quality, safe,

and equitable obstetric and gynecologic care. ACOG maintains the highest standards of clinical

practice and continuing education of its members, promotes patient education, and increases

awareness among its members and the public of changing issues facing women’s health care. With

more than 62,000 members, ACOG advocates for quality health care for women, maintains the

highest standards of clinical practice and continuing education of its members, promotes patient

education, and increases awareness among its members and the public of the changing issues

facing women’s health care. ACOG is committed to ensuring access to the full spectrum of

evidence-based quality health care, including reproductive health care. ACOG has appeared as




                                                 -3-
Case 2:24-cv-00228-Z         Document 77        Filed 03/10/25    Page 4 of 8      PageID 49938



amicus curiae in courts throughout the country. ACOG’s briefs and medical practice guidelines

have been cited by numerous authorities as a leading provider of authoritative scientific data

regarding childbirth and reproductive health.

       Society for Maternal-Fetal Medicine (“SMFM”) is the medical professional society for

maternal-fetal medicine subspecialists, who are obstetricians with additional training in high-risk

pregnancies. SMFM was founded in 1977, and it represents more than 7,000 members caring for

high-risk pregnant people. SMFM provides education, promotes research, and engages in

advocacy to advance optimal and equitable perinatal outcomes for all people who desire and

experience pregnancy. SMFM and its members are dedicated to ensuring that all medically

appropriate treatment options are available for individuals experiencing high-risk pregnancies.

SMFM’s amicus briefs also have been cited by many courts.



                                          CONCLUSION

       For the foregoing reasons, Amici respectfully request that this Court grant their Unopposed

Motion for Leave to file brief in this case.


       Dated this the 10 day of March, 2025.



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                                                -4-
Case 2:24-cv-00228-Z   Document 77   Filed 03/10/25    Page 5 of 8      PageID 49939



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                                     -5-
Case 2:24-cv-00228-Z   Document 77   Filed 03/10/25    Page 6 of 8   PageID 49940



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                                     -6-
Case 2:24-cv-00228-Z       Document 77       Filed 03/10/25     Page 7 of 8     PageID 49941


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that, on March 10, 2025, Sarah Stewart, counsel for

Amici, conferred by email with counsel for Plaintiffs and Defendants, all of whom indicated they

are unopposed to the relief sought.

                                                           /s/ Sarah Cummings Stewart

                                                           Sarah Cummings Stewart




                                             -7-
Case 2:24-cv-00228-Z       Document 77       Filed 03/10/25       Page 8 of 8     PageID 49942


                               CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2025, a copy of the foregoing was filed electronically

via the Court’s ECF system, which effects service upon counsel of record.

                                                            /s/ Sarah Cummings Stewart

                                                            Sarah Cummings Stewart




                                              -8-
